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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 JOANNE GONZALEZ,

        Plaintiff,
                                                 Case No.:
 v.

 LARJAR, INC., d/b/a PROCARE
 INCORPORATED,

       Defendant.
 __________________________________/

                     COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, JOANNE GONZALEZ, by and through undersigned counsel, brings this

 action against Defendant, LARJAR, INC. d/b/a PROCARE, INCORPORATED, and in

 support of her claims states as follows:

                               JURISDICTION AND VENUE

        1.      This is an action for damages in excess of $15,000, exclusive of interest,

 fees, and costs, and for declaratory relief, for violations of Title VII of the Civil Rights Act

 of 1964, as amended (“Title VII”), 42 U.S.C. § 2000e et seq.

        2.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 29

 U.S.C. § 201 et seq.

        3.      Venue is proper in the Middle District of Florida, because all of the events

 giving rise to these claims occurred in Hillsborough County, Florida, which lies within the

 Middle District.
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                                           PARTIES

        4.      Plaintiff is a resident of Hillsborough County, Florida.

        5.      Defendant operates one of the largest privately held transportation and

 language service providers in Tampa, in Hillsborough County, Florida.

                                GENERAL ALLEGATIONS

        6.      Plaintiff has satisfied all conditions precedent, or they have been waived.

        7.      Plaintiff has hired the undersigned attorneys and agreed to pay them a fee.

        8.      Plaintiff requests a jury trial for all issues so triable.

        9.      At all times material hereto, Plaintiff was an employee of Defendant within

 the meaning of Title VII.

        10.     At all times material hereto, Defendant employed fifteen (15) or more

 employees. Thus, Defendant is an “employer” within the meaning of Title VII.

                                             FACTS

        11.     Plaintiff was employed by Defendant from July 2018 to April 25, 2019 as a

 customer service dispatcher.

        12.     Plaintiff is a female.

        13.     Thus, Plaintiff is a member of a protected class, and on account of her

 protected status, Plaintiff benefits from the protections of Title VII.

        14.     On May 19, 2019, Plaintiff complained to Defendant by filing a complaint

 to her operations manager, Dana Peterson.

        15.     Specifically, Plaintiff complained about preferential treatment towards male

 employees regarding flex schedules and males receiving better leads.




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         16.     Further, Plaintiff reported inappropriate sexual conversations that took

 place in the work place.

         17.     Defendant took no remedial action in response.

         18.     Instead, on or about April 25, 2019, Defendant retaliated against Plaintiff

 for invoking her rights under Title VII by terminating Plaintiff’s employment.

                          COUNT I – TITLE VII RETALIATION

         19.     Plaintiff realleges and readopts the allegations of paragraphs 1 through 18

 of this Complaint, as though fully set forth herein.

         20.     Plaintiff is a member of a protected class under Title VII.

         21.     Plaintiff exercised or attempted to exercise her rights under Title VII,

 thereby engaging in protected activity under Title VII.

         22.     Defendant retaliated against Plaintiff for engaging in protected activity

 under Title VII by terminating Plaintiff's employment.

         23.     Defendant’s actions were willful and done with malice.

         24.     In terminating Plaintiff's employment, Defendant took material adverse

 action against Plaintiff.

         25.     Plaintiff was injured due to Defendant’s violations of Title VII, for which

 Plaintiff is entitled to legal and injunctive relief.

         WHEREFORE, Plaintiff demands:

                 a)      A jury trial on all issues so triable;

                 b)      That process issue and that this Court take jurisdiction over the case;




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               c)      That this Court enter a declaratory judgment, stating that Defendant

                       retaliated against Plaintiff for exercising her rights under Title VII;

               d)      That this Court enter an injunction restraining continued violation

                       of Title VII by Defendant;

               e)      Compensation for lost wages, benefits, and other remuneration;

               f)      Reinstatement of Plaintiff to a position comparable to Plaintiff’s

                       prior position, with back pay plus interest, pension rights, seniority

                       rights, and all fringe benefits;

               g)      Front pay;

               h)      Any other compensatory damages, including emotional distress,

                       allowable at law;

               i)      Punitive damages;

               j)      Prejudgment interest on all monetary recovery obtained.

               k)      All costs and attorney’s fees incurred in prosecuting these claims;

                       and

               l)      For such further relief as this Court deems just and equitable.

                                JURY TRIAL DEMAND

       Plaintiff demands trial by jury as to all issues so triable.

       Dated this 9th day of August, 2019.

                                               Respectfully submitted,

                                               /s/ Brandon J. Hill________________
                                               BRANDON J. HILL
                                               Florida Bar Number: 37061
                                               WENZEL FENTON CABASSA, P.A.


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